             Case 5:16-cr-00211-LHK Document 321 Filed 01/09/18 Page 1 of 2




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 6   Counsel for Vilasini Ganesh
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 8
 9                             UNITED STATES DISTRICT COURT
10
                             NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN JOSE DIVISION
12
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14
15   UNITED STATES OF AMERICA,              )    No. 16-211 LHK
16                                          )
                                 Plaintiff, )    NOTICE OF APPEARANCE OF TED
17                                          )    W. CASSMAN FOR DEFENDANT
            v.                              )    VILASINI GANESH
18                                          )
19   VILASINI GANESH,                       )
                                            )
20                               Defendant. )
                                            )
21
22
     TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
23
           PLEASE TAKE NOTICE that Ted W. Cassman of Arguedas, Cassman &
24
     Headley, LLP hereby appears as counsel of record on behalf of defendant Vilasini
25
     Ganesh in the above-captioned matter. Ms. Ganesh requests that all notices given and
26
     all papers filed or served in the above-captioned matter be served upon counsel at the
27
     address below:
28
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                 NOTICE OF APPEARANCE OF TED W. CASSMAN FOR DEFENDANT VILASINI GANSH
                                        Case No. 16-CR-211 LOK
            Case 5:16-cr-00211-LHK Document 321 Filed 01/09/18 Page 2 of 2




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 5
     Dated: January 8, 2018                 Respectfully submitted,
 6
 7
                                                 /s/
 8                                          Ted W. Cassman
                                            ARGUEDAS, CASSMAN & HEADLEY, LLP
 9
                                            Counsel for Vilasini Ganesh
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              NOTICE OF APPEARANCE OF TED W. CASSMAN FOR DEFENDANT VILASINI GANSH
                                     Case No. 16-CR-211 LOK
